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                                   IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MINNESOTA

                                INITIAL APPEARANCE - REMOVAL
                                                    )      COURT MINUTES - CRIMINAL
United States of America,                           )             BEFORE: JON T. HUSEBY
                                                    )             U.S. MAGISTRATE JUDGE
                            Plaintiff,              )
v.                                                  )   Case No:             22-mj-822 JTH
                                                    )   Date:                September 30, 2022
Daniel Arthur Olson,                                )   Courthouse:          Minneapolis
                                                    )   Courtroom:           8E
                            Defendant.              )   Time Commenced:      1:36 p.m.
                                                    )   Time Concluded:       1:40 p.m.
                                                    )   Time in Court:        4 minutes
                                                    )
                                                    )
APPEARANCES:

        Plaintiff: Alexander Chiquoine, Assistant U.S. Attorney
        Defendant: Eric Olson
                        X Retained

        X Advised of Rights

on X Indictment
X Date charges or violation filed: 9/22/2022
X Current Offense: distribution of child pornography
X Charges from other District: Northern District of Mississippi
X Title and Code of underlying offense from other District: 18:2251(a)
X Case no: 3:22cr118

X Government moves for detention.
Motion is X granted, temporary detention ordered.

Bond set in the amount of $ with conditions, see Order Setting Conditions of Release.
Next appearance date is October 4, 2022 at 2:00 p.m. before U.S. Magistrate Judge Elizabeth Cowan Wright,
CR 3C STP for:
X Detention hrg X Removal hrg



Additional Information:
X Oral Rule5(f) Brady notice read on the record.


                                                                                                  s/ jam
                                                                          Signature of Courtroom Deputy
